83 F.3d 430
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Timothy ORALLO, Defendant-Appellant.
    No. 95-16223.
    United States Court of Appeals, Ninth Circuit.
    Submitted April 10, 1996.*Decided April 12, 1996.
    
      Before:  HALL, THOMPSON, and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Federal prisoner Timothy Orallo appeals the district court's denial of his 28 U.S.C. § 2255 motion challenging his guilty plea conviction on double jeopardy grounds.   We have jurisdiction pursuant to 28 U.S.C. § 2255.   We review de novo, Doganiere v. United States, 914 F.2d 165, 167 (9th Cir.1990), cert. denied, 499 U.S. 940 (1991), and we affirm.
    
    
      3
      Orallo contends that his conviction violated the Double Jeopardy Clause of the Fifth Amendment because of the prior administrative forfeiture of property seized at the time of his arrest.   However, because Orallo concedes that he received adequate notice of the forfeiture but failed to file a claim of ownership and cost bond to contest the forfeiture, his double jeopardy contention is foreclosed by United States v. Cretacci, 62 F.3d 307 (9th Cir.1995), petition for cert. filed, (Feb. 13, 1996) (No. 95-7955) (forfeiture of abandoned property does not implicate any rights protected by Double Jeopardy Clause).
    
    
      4
      We reject Orallo's contention that by filing a petition for remission or mitigation he adequately claimed an ownership interest in the property such that it could not be deemed abandoned.   See 19 U.S.C. § 1609(a) (1988);  United States v. Castro, No. 95-50480, slip op. 2089, 2097 (9th Cir.  March 5, 1996) (merely asserting ownership without fully complying with the requirements for filing a claim and cost bond constitutes abandonment of property as a matter of law);  see also United States v. Wong, 62 F.3d 1212, 1214 (9th Cir.1995) (because remission or mitigation is not a formal proceeding seeking to punish the petitioner, no jeopardy attached to filing of petition for remission/mitigation).
    
    
      5
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    